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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:05-cr-00034-MP-AK

MICHAEL ALEXIS BIROCCO,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 43, Motion to Continue by Michael Alexis

Birocco. A teleconference was held on February 9, 2006, concerning the motion, during which

the government indicated it had no objection. The motion is granted, and sentencing is hereby

reset for Thursday, February 23, 2006, at 1:30 p.m.


       DONE AND ORDERED this 16th day of February, 2006


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
